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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


    KEITH HOBBS, individually and on behalf
    of all others similarly situated,
                                                      Case No. 19-cv-00571
                           Plaintiff,

         v.                                           ENTRY OF APPEARANCE OF
                                                      PATRICK H. PELUSO
    HOMEADVISOR, INC. a Delaware
    corporation,
                           Defendant.


         To the clerk of court and all parties of record:

         I hereby certify that I am a member in good standing of the bar of this court, and I appear

  in this case as counsel for Plaintiff Keith Hobbs and the alleged Classes.


         DATED at Denver, Colorado this 26th day of February, 2019.

                                                        ,       s/     Patrick H. Peluso

                                                               Patrick H. Peluso
                                                               ppeluso@woodrowpeluso.com
                                                               Woodrow & Peluso, LLC
                                                               3900 E Mexico Avenue, Suite 300
                                                               Denver, Colorado 80210
                                                               720-213-0676




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                                      CERTIFICATE OF SERVICE

         I hereby certify that on February 26, 2019 I electronically filed the foregoing with the
  Clerk of the Court using the CM/ECF system which will send notification of such filing to all
  counsel of record.



                                                         s/   Patrick H. Peluso




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